Case: 1:23-cv-16856 Document #: 8 Filed: 01/31/24 Page 1 of 4 PagelD #:50

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23 C 16856

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

This summons for Jessica Vazquez
was recieved by me on 1/10/2024:

hm | personally served the summons on the individual at (place) on (date) ; or

a | left the summons at the individual's residence or usual place of abode with Nasim Vazquez, a person of suitable age
and discretion who resides es on 01/17/2024 at 3:15 PM, and mailed a copy
to the individual’s last known address; or

I | served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
of organization); or

hm | returned the summons unexecuted because ; or

hm Other (specify)

My fees are $ 0 for travel and $ 100.00 for services, for a total of $ 100.00.

| declare under penalty of perjury that this information is true.

Date: 01/17/2024

Server's signature

Stephanie Jenkins
Printed name and title

400 Gates Rd
Woodbury, GA 30293

Server's address

Additional information regarding attempted service, etc:

I delivered the documents to Nasim Vazquez who identified themselves as the subject's spouse, co-resident with
identity confirmed by subject stating their name. The individual accepted service with direct delivery. The individual
appeared to be a black-haired male contact 35-45 years of age, 5'6"-5'8" tall and weighing 160-180 Ibs with an accent.

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Case: 1:23-cv-16856 Document #: 8 Filed: 01/31/24 Page 2 of 4 PageID #:51

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23 C 16856

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

This summons for Lily Marston
was recieved by me on 1/10/2024:

x
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| personally served the summons on the individual at i on 01/17/2024 at 12:03

PM; or

| left the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

| served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
of organization); or

| returned the summons unexecuted because ; or

Other (specify)

My fees are $ 0 for travel and $ 100.00 for services, for a total of $ 100.00.

| declare under penalty of perjury that this information is true.

Date: 01/17/2024

Server's signature

Luz Zuta
Printed name and title

742 Forest Park Boulevard Apt 316
Oxnard, CA 93036

Server's address

Additional information regarding attempted service, etc:

I delivered the documents to Lily Marston with identity confirmed by subject saying yes when named. The individual
accepted service with direct delivery. The individual appeared to be a blonde-haired white female contact 25-35 years
of age, 5'6"-5'8" tall and weighing 140-160 Ibs.

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Case: 1:23-cv-16856 Document #: 8 Filed: 01/31/24 Page 3 of 4 PageID #:52

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23 C 16856

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

This summons for Rebekah Day
was recieved by me on 1/16/2024:

(XB =| personally served the summons on the individual at en °° 01/20/2024 at

12:03 PM; or

I | left the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

I | served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
of organization); or

hm | returned the summons unexecuted because ; or

hm Other (specify)

My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.

| declare under penalty of perjury that this information is true.

Date: 01/20/2024 4 A,

Server's signature

Michael Wagner
Printed name and title

1024 BROOKSIDE DR
RAYMORE, MO 64083

Server's address

Additional information regarding attempted service, etc:

I delivered the documents to Rebekah Day with identity confirmed by subject stating their name. The individual
accepted service with direct delivery. The individual appeared to be a black-haired black female contact 25-35 years of
age, 5'4"-5'6" tall and weighing 140-160 Ibs with piercings.

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Case: 1:23-cv-16856 Document #: 8 Filed: 01/31/24 Page 4 of 4 PagelD #:53

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:23-CV-16856

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

This summons for Kai! CHa
was recieved by me on 1/13/2024:

(XB =| personally served the summons on the individual at en © 01/20/2024 at 7:

59 PM; or

hm | left the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

I | served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
of organization); or

hm | returned the summons unexecuted because ; or

hm Other (specify)

My fees are $ 0 for travel and $ 85.00 for services, for a total of $ 85.00.

| declare under penalty of perjury that this information is true.
Date: 01/21/2024

GIZA

Server's signature

Peter Constantine
Printed name and title

1810 Ashborough Rd SE Apt D
Marietta, GA 30067

Server's address

Additional information regarding attempted service, etc:

I delivered the documents to Krista L. Carter with identity confirmed by subject saying yes when named. The

individual accepted service with direct delivery. The individual appeared to be a dyed-haired white female contact 25-
35 years of age, 5'8"-5'10" tall and weighing 80-120 Ibs.

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